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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 IOWA PUBLIC EMPLOYEES’ RETIREMENT
 SYSTEM, et al.,
                              Plaintiffs,
                                                          17 Civ. 6221 (KPF)
                       -v.-
 MERRILL LYNCH, PIERCE, FENNER &                                ORDER
 SMITH INC., et al.,

                              Defendants.

KATHERINE POLK FAILLA, District Judge:

      In order to accommodate the parties’ extended discovery schedule, by

Stipulation dated January 25, 2021, the Court granted a 45-day extension of

the deadline for briefing the pending motion for class certification, from

August 30, 2021, to September 21, 2021. (See Dkt. #410). In so doing, the

Court has allowed the briefing on Plaintiffs’ motion for class certification to be

filed over a period of seven months. However, in granting this request as a

courtesy to the parties, the Court has complicated its own administrative

calendar; in particular, the current briefing schedule forecloses the Court’s

ability to comply with certain semi-annual reporting obligations to Congress.

To permit the Court to comply with its obligations without shortening the

briefing schedule or discovery, the Court will terminate the pending motion for

class certification — solely as an administrative matter — and it requests that

Plaintiffs refile their Notice of Motion for Class Certification at the time they file

their reply brief, on or before September 21, 2021, as a courtesy to the Court.
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For avoidance of doubt, the Court confirms that the briefing schedule set

pursuant to docket entry number 410 remains in effect.

      The Clerk of Court is directed to terminate the motion pending at docket

entry number 411.

      SO ORDERED.

Dated:       March 26, 2021
             New York, New York            __________________________________
                                                KATHERINE POLK FAILLA
                                               United States District Judge




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